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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS



JEFFERY TOMASULO, on Behalf of Himself                        Case No. 18-cv-2025
and All Others Similarly Situated,
                                                              CLASS ACTION COMPLAINT
       Plaintiff,

v.

CBOE EXCHANGE, INC., CBOE GLOBAL
MARKETS, INC., CBOE FUTURES
                                                              JURY TRIAL DEMANDED
EXCHANGE, LLC, and JOHN DOES,

       Defendants.



                                        INTRODUCTION

       1.      The Volatility Index, known under its ticker symbol “VIX,” is a benchmark index

created by Defendant CBOE Exchange, Inc., a wholly owned subsidiary of Defendant CBOE

Global Markets, Inc. (collectively, “CBOE”). Introduced in 1993, the VIX purports to measure

the implied volatility of large cap U.S. stocks, over 30 days in the future.

       2.      Often dubbed the stock market’s “fear index” or “fear gauge,” the VIX is

calculated based on real-time prices of certain put and call options on the Standard & Poor’s 500

Index (“SPX Options”) and is designed to reflect investors’ consensus view of near-term future

expected stock market volatility. The VIX estimates expected volatility in the S&P 500 by

averaging the weighted prices of SPX Options over a wide range of strike prices. Because prices

of SPX Options are correlated with volatility — as investors’ expectation of volatility in the near

future rises/falls, the price of SPX Options correspondingly rises/falls to reflect the respective

increased/decreased risk of those options due to wider/narrower expected fluctuations in the S&P

500 — expected volatility is calculated by the VIX in reference to SPX Options prices.
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        3.    Although the VIX is a benchmark that cannot be traded, pursuant to authority

granted to it under the Commodity Exchange Act, 7 U.S.C. §1 et seq., the Chicago Board

Options Exchange (“CBOE”) eventually created tradeable instruments linked to the VIX. On

March 26, 2004, CBOE launched VIX Futures to be traded exclusively on the CBOE Futures

Exchange (“CFE”), and on February 24, 2006 launched VIX Options to be traded exclusively on

CBOE.

        4.    During the timeframe of this Complaint, trading activity in VIX Futures and

Options ballooned. The average daily contract volume for VIX futures rose from 1,731 contracts

per day in 2006 to 300,568 contracts per day in 2017 (through August 24, 2017), a 17,263%

increase.1 Meanwhile, the average daily volume of VIX Options in 2006 was 23,491, and rose to

687,181 in 2017 (through July 2017), a 23,491% increase.2

        5.    Since their inception in 2009, there has also been a proliferation of trading in

VIX-linked Exchange Traded Products (“VIX ETPs”) — an umbrella category that includes

products such as exchange-traded funds (“ETFs”) and exchange-traded notes (“ETNs”) — which

are instruments that track VIX futures but are traded on a public exchange. There are presently

at least 18 active VIX ETPs (and at least an additional 19 that have closed), which have a

combined current market cap of about $3.4 billion.3




1
        See Matt Moran, “Record Days for VIX Futures and Options Volume and Open Interest This
Month,” CBOE (Aug. 25, 2017) http://www.cboe.com/blogs/options-hub/2017/08/25/record-days-for-
vix-futures-and-options-volume-and-open-interest-this-month (last accessed Mar. 16, 2018).
2
        Id.
3
         Examples of active VIX ETPs include: iPath Inverse S&P 500 VIX Short-Term Futures ETN II
(ticker symbol IVOP); ProShares Short VIX Short-Term Futures ETF (SVXY); VelocityShares Daily 2X
VIX Short-Term ETN (TVIX); ProShares Ultra VIX Short-Term Futures ETF (UVXY); VelocityShares
VIX Short-Term ETN (VIIX); ProShares VIX Short-Term Futures ETF (VIXY); iPath S&P 500 VIX
Short-Term Futures ETN (VXX); and iPath S&P 500 Dynamic VIX ETN (XVZ).


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       6.      The exercise-settlement values of these VIX Futures and VIX Options (and the

corresponding value of VIX ETPs that track them) are not calculated directly from the

benchmark VIX, but rather are determined using a Special Opening Quotation (“SOQ”) — a

special VIX value designed by CBOE and calculated on the settlement date of VIX derivatives

prior to the opening of trading. On the VIX Futures’ and VIX Options’ settlement date, auction

clearing prices of SPX Options are used to determine this SOQ (which can be found under the

ticker symbol “VRO”). Manipulation of this SOQ value would correspond to manipulation in

the values of VIX Futures and VIX Options, as well as the VIX ETPs that track them.

       7.      This CBOE-designed SOQ is highly susceptible to manipulation for a variety of

reasons, including, but not limited to, the fact that it occurs during a fixed, short window during

non-trading hours. Over the past year, evidence has become publicly available that strongly

suggests, if not establishes, manipulation of the VIX SOQ to influence the pricing of VIX

Options, VIX Futures, and VIX ETPs (collectively, “VIX Instruments”). Indeed, former SEC

Chairman Harvey Pitt has been quoted as saying that “it’s quite clear that [VIX] options can be

manipulated. And when there were complaints about possible manipulation, CBOE, as the

marketplace, should have sprung into action.”4

       8.      The VIX manipulation described herein is undertaken by a select group of

financial institutions and trading firms (the “John Doe Defendants”) with sophisticated,

expensive technology and/or the exclusively CBOE-authorized ability to make markets on SPX

Options. These CBOE-granted advantages allow the John Doe Defendants to deploy capital to

post offers and bids or enter into contracts on SPX Options collusively during the limited time


4
         See Mark DeCambre, “Ex-SEC chairman says ‘it’s quite clear’ Wall Street’s ‘fear gauge’ can be
manipulated,” MARKETWATCH (Feb. 16, 2018), https://www.marketwatch.com/story/ex-sec-chairman-
says-its-quite-clear-wall-streets-fear-gauge-can-be-manipulated-2018-02-16 (last accessed Mar. 16,
2018).


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window in which those options influence the SOQ settlement price of VIX Futures and VIX

Options, and thereby manipulate the value of their more liquid holdings in VIX Futures and VIX

Options in their favor. Essentially, the John Doe Defendants use their CBOE-granted privileged

access to the S&P 500 options market and their high-frequency trading algorithms to manipulate

the VIX Index calculation in concert, and, by doing so, generate massive profits for their much

larger positions in VIX Futures and VIX Options.

       9.      In addition, and also on information and belief, the John Doe Defendants also

own a variety of VIX ETPs, the underlying performance of which is directly tied to the VIX.

The same manipulative behavior that the John Doe Defendants engage in to manipulate the VIX

and profit from their positions in VIX Futures and VIX Options in turn also directly benefits the

positions of the John Doe Defendants in their respective VIX ETP holdings.

       10.     This manipulation of the VIX has caused billions in losses for institutional and

retail investors in VIX Instruments throughout the proposed Class Period.

       11.     Because CBOE has chosen to keep the trading of SPX Options anonymous,

Plaintiff is not yet able to identify the precise number and identity of the manipulators acting in

concert with one another and with the knowledge of CBOE. However, CBOE possesses that

information — indeed, it is required to maintain it under the Commodity Exchange Act, 7 U.S.C.

§7(d) — and Plaintiff will be able to use that information to identify the John Doe Defendants

through discovery. Upon information and belief, many or all of the John Doe Defendants are

SPX Options market makers — an exclusive group whose membership is controlled by CBOE.

       12.     The John Doe Defendants would not have been able to manipulate the VIX Index

to the extent they did without the cooperation of CBOE. Upon information and belief, CBOE

intentionally designed its products, operated its platforms, and formulated the method for




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calculating VIX and the SOQ in a manner that could be collusively manipulated in a single,

narrow period of time with even low-premium trades by the John Doe Defendants, and

especially by the John Doe Defendants who were given status as SPX Options market makers by

CBOE. This conduct reflects CBOE’s intent to join the conspiracy. Indeed, some of CBOE’s

initiatives pertaining to the VIX and SOQ were implemented only after it sought and obtained

close consultation and significant contributions on these initiatives from certain financial

institutions that trade heavily in VIX Instruments, such as Goldman Sachs. Furthermore, CBOE

permitting VIX Instruments to be traded despite the fact that they are readily susceptible to such

manipulation was and continues to be a violation of the Commodity Exchange Act, 7 U.S.C.

§7(d).

          13.   The John Doe Defendants also benefited from CBOE’s inaction in response to its

knowledge that the VIX Index was being manipulated. Under 7 U.S.C. §7(d), CBOE was

required to monitor and enforce compliance with its rules prohibiting abusive trade practices,

including having adequate resources and capacity to “detect, investigate, and apply appropriate

sanctions to any person that violates any rule of the contract market” of CBOE in regards to

manipulative and abusive trading practices, and to “establish and enforce rules . . . to protect

markets and market participants from abusive practices committed by any party . . . [and] to

promote fair and equitable trading on the contract market.”         Despite knowing or having

considerable reason to suspect that manipulation of the VIX Index was occurring through the

VIX Instruments traded on CBOE’s markets (as detailed below in this Complaint), CBOE took

no effective action to stop the manipulation and collusion. Rather, it adopted a laissez faire

approach, thereby enabling the manipulation to continue, while protecting the growth of VIX

Instruments trading on its markets.




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       14.     By no coincidence, CBOE has profited handsomely from the manipulation of the

VIX. With the proliferation of VIX Instruments, CBOE has seen net revenues increase, net

transaction fees shoot up, and contract fees close to double. As a result of this VIX Instrument-

fueled growth, the value of Class A common stock in CBOE’s holding company, CBOE Global

Markets, Inc., has increased by over 300% since its inception in June 2010.5 This has directly

benefited CBOE officers and board members, who were compensated heavily with CBOE stock

between 2010 and the present.

       15.     Defendants’ conspiratorial conduct violates Section 1 of the Sherman Act and has

caused injury to investors in VIX Instruments. Defendants’ conduct also caused actual damages

to Plaintiff and members of the proposed Class in violation of the Commodity Exchange Act, 7

U.S.C. §1 et seq. Plaintiff, on behalf of himself and members of the proposed Class, seeks

damages caused by Defendants’ manipulation and Defendants’ violations of the Commodity

Exchange Act, including treble damages and injunctive relief.

                                           PARTIES

       16.     Plaintiff Jeffery Tomasulo transacted in VIX Futures and the iPath S&P 500 VIX

ST Futures ETN (VXX) during the Class Period and has been injured in his business or property

by reason of Defendants’ violations of law as alleged herein.

       17.     Defendant CBOE Exchange, Inc. is a Delaware corporation with its principal

place of business at 400 South LaSalle Street, Chicago, IL 60605. CBOE Exchange is a wholly

owned subsidiary of CBOE Global Markets, Inc. which is also a Delaware corporation with its

principal place of business at 400 South LaSalle Street, Chicago, IL 60605. CBOE Futures



5
         See CBOE: Summary for CBOE Global Markets, Inc., http://finance.yahoo.com/quote/CBOE/
(last accessed Mar. 16, 2018).


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Exchange, LLC is a Delaware limited liability company with its principal place of business at

400 South LaSalle Street, Chicago, IL 60605.

       18.     John Doe Defendants are those financial institutions that manipulated VIX

Instruments through the collusive trading in and posting of quotes for SPX Options during the

times those SPX Options trades and quotes were used in the settlement calculation of VIX

Futures and VIX Options, and, relatedly, influenced the price of VIX ETPs. Plaintiff will be able

to identify the John Doe Defendants through discovery of trading records in the possession of

CBOE that CBOE is required to maintain under the Commodity Exchange Act, including but not

limited to, Order Entry Operator identifications, Tag 50 IDs, User Assigned IDs, and Clearing

Information.

                                 JURISDICTION AND VENUE

       19.     This is a claim brought pursuant to the Sherman & Clayton Acts and pursuant to

the Commodity Exchange Act. The Court has jurisdiction pursuant to 28 U.S.C. §1331.

       20.     This Court has personal jurisdiction over each Defendant. All Defendants are

reasonably believed to have: (1) transacted business in the United States, including in this

District; (2) substantial contacts with the United States, including in this District; and

(3) committed substantial acts in furtherance of the claims herein in the United States, including

in this District, including the manipulation of the prices of VIX Instruments traded in this

District. In addition, Defendants’ conspiracy was directed at, and had the intended effect of,

causing injury to persons residing in, located in, or doing business in the United States, including

in this District, and Plaintiff’s claims arise out of the Defendants’ conduct.

       21.     Venue is proper in this District under 28 U.S.C. §1391(b), (c), and (d).

Defendants resided, transacted business, were found, or had agents in this District; a substantial



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part of the events giving rise to Plaintiff’s claims arose in this District; and a substantial portion

of the affected interstate trade and commerce described herein has been carried out in this

District.

        22.     The activities of Defendants were within the flow of, were intended to, and did

have a substantial effect on the interstate commerce of the United States.

                                     FACTUAL ALLEGATIONS

I.      BACKGROUND AND STRUCTURE OF VIX AND VIX INSTRUMENTS

        A.      The VIX Benchmark

        23.     VIX is a benchmark index that measures the 30-day expected volatility of the

S&P 500 Index for large cap U.S. stocks. First introduced in 1993, VIX is calculated and

published by CBOE every fifteen seconds during CBOE’s regular trading hours (8:30 a.m. to

3:15 p.m. Central time) and extended trading hours (2:00 a.m. to 8:15 a.m. Central time), based

on the prices of certain “put” and “call” SPX Options traded during those time periods.6

        24.     VIX relies upon the price of SPX Options as a stand-in to measure expected near-

term volatility because one component in the price of SPX Options is an estimate of how volatile

the S&P 500 will be between now and the option’s expiration date, allowing the volatility that

the market expects in the S&P 500 over the next 30 days to be estimated from SPX Option prices

settling around 30 days from the present. If expected near-term future volatility (and thus swings

in the market price of the S&P 500) is high, SPX Options (which serve as a means to hedge

against large swings in the price of the S&P 500) are more valuable and thus more expensive. If


6
         A “put” or “put option” is a financial contract which gives the owner the right, but not the
obligation, to sell an agreed quantity of a particular commodity or financial instrument (the underlying),
at a specified price (the strike), by a predetermined date (the expiration date). A “call” or “call option” is
a financial contract which gives the owner the right, but not the obligation, to buy an agreed quantity of a
particular commodity or financial instrument (the underlying) at a certain time (the expiration date) for a
certain price (the strike price).


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expected near-term future volatility is low, the benefits of holding SPX Options to hedge against

swings in the S&P 500 is lower, and therefore the prices of SPX Options are also cheaper.

       25.     To come up with a 30-day measure of expected volatility in the S&P 500, the data

used for VIX calculation are trades of near- and next-term put and call SPX Options with more

than 23 days and less than 37 days to expiration; if there is no traded price for a given SPX

Option, the average of the bid and ask price of near- and next-term put and call options with

more than 23 days and less than 37 days to expiration is used instead. These include SPX

options with “standard” third Friday expiration dates and “weekly” SPX options that expire

every Friday, except the third Friday of each month.

       26.     Once each week, the SPX options used to calculate VIX “roll” to new contract

maturities in order to maintain a 30-day expectation of volatility measured by the index. For

example, on the second Tuesday in October, the VIX index would be calculated using SPX

options expiring 24 days later (i.e., “near-term”) and 31 days later (i.e., “next-term”). On the

following day, the SPX options that expire in 30 calendar days would become the “near-term”

options and SPX options that expire in 37 calendar days would become the “next-term” options,

thereby maintaining the “more than 23 days and less than 37 days to expiration” window.

       27.     Below is CBOE’s standard formula used to calculate both the VIX and the SOQ.

The values used in the calculation include: (1) forward SPX level “F”; (2) time to expiration “T”;

(3) risk-free interest rate “R”; (4) “Ki” representing the strike price for any given out-of-the-

money SPX option “i”; (5) the price of that selected option “Q(Ki)”; and (6) the average distance

between strike prices immediately above and below the forward index level, or “∆Ki.”




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       28.     The SPX forward level calculation (i.e., “F” value in the above formula), is based

on the strike price at which the absolute difference between the call and put prices is smallest. In

the table below listing hypothetical SPX calls and puts, the difference between the call and put

prices is smallest at the 1965 strike. As such, the 1965 strike will be utilized to determine the

forward SPX level.

                     Strike Price   Call             Put         Difference

                         …           …               …               …

                        1940        38.45         15.25            23.20

                        1945        34.70         16.55            18.15

                        1950        31.10         18.25            12.85

                        1955        27.60         19.75             7.85

                        1960        24.25         21.30             2.95

                        1965        21.05         23.15             2.10

                        1970        18.10         25.05             6.95

                        1975        15.25         27.30            12.05

                        1980        12.75         29.75            17.00

                         …           …               …               …




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        29.      Only “out-of-the-money” options that have non-zero bids are included.7 A call

option is out of the money when the strike price of the option is higher than the market price of

the underlying asset. A put option is out of the money when the strike price of the option is

lower than the market price of the underlying asset.

        30.      The selection of strikes goes from the at-the-money strike up (for calls) and down

(for puts), until two consecutive strikes with zero-bid price are found in each direction. No other

options beyond such two consecutive zero-bid strikes are included. Examples below illustrate

the selection process:




7
         If an option were to be exercised if it were to expire today (and thus would result in a payout to
the option holder), it is said to be “in the money.” If the current price and strike price are equal, it is said
to be “at the money.”


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        B.     VIX Futures and VIX Options

        31.    Because investors cannot trade the VIX directly, CBOE needed to create VIX-

related products if it wanted to monetize the VIX and utilize it as a directly traded benchmark,

i.e., to generate profits. Futures and options are types of contracts that CBOE is authorized to

create and offer as a board of trade designated as a contract market under the Commodity

Exchange Act. However, CBOE can only list contracts “that are not readily susceptible to

manipulation.” 7 U.S.C. §7(d)(3).

        32.    VIX Futures are a type of futures known as financial futures. “Financial futures

usually take the form of a contract that depends on the value of an index at some future date.”

Board of Trade of City of Chicago v. S.E.C., 187 F.3d 713, 715 (7th Cir. 1999). The buyer

(known as the “long” position) of a financial futures contract that is based on the value of a

specified index might promise to buy 100 times the value of that index on a defined future date

(the “settlement date”), and the seller (known as the “short” position) will receive that price on

that date.

        33.    The parties may close their position in the financial futures contract at any time

prior to the settlement date by buying or selling an offsetting obligation. Alternatively, they can

hold the financial futures contract through the settlement date, at which point the long position

can either receive cash from, or pay cash to, the short position, depending on whether the price it

agreed to pay for the financial futures contract is above or below the price of the specified index

at the time of settlement (the “spot price”).

        34.    The price of a VIX Future will increase if market expectations for volatility

increase above current expectations (as reflected by the current VIX price) and will decrease if




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market expectations for volatility decrease below current levels (as reflected by the current VIX

price). As explained by CBOE:

        Assume, for example that today is August 10 and the VIX index is 20. If market
        expectations are for 30-day implied volatility to be higher than 20 in October and
        lower than 20 in December, then October VIX futures will be trading at a level
        above 20 and December VIX futures will be trading below 20.

        35.     Investors can also take positions that have exposure to underlying VIX Futures by

trading VIX Options. VIX Options can be either put or call options.

        36.     A VIX call option gives the holder the right, but not the obligation, to buy a

particular VIX Futures Contract at a specified price, known as the “strike price,” at some

predetermined date in the future. The option to purchase the contract is said to “expire” when

the future date in question comes to pass. An investor typically buys a VIX call option when he

expects the price of the corresponding VIX Future to rise above the call’s strike price.

        37.     Conversely, a VIX put option gives the holder the right, but not the obligation, to

sell a VIX Futures Contract at the strike price at the date of expiration. The buyer of a VIX put

option will be “in-the-money” if the price of the corresponding VIX Futures price drops below

the put’s strike price.

        38.     CBOE launched VIX Futures on March 26, 2004 for exclusive trading on the

CFE,8 and CBOE launched VIX Options on February 24, 2006 for exclusive trading on the

Chicago Board Options Exchange.9


8
         See https://www.cboe.com/aboutcboe/cboe-cbsx-amp-cfe-press-releases?DIR=ACNews&FILE=
cboe_cfe_20040326.doc&CreateDate=26.03.2004&Title=CBOE%20Futures%20Exchange%20(CFE)%2
0Successfully%20Launches%20Today%20-%20Volume%20In%20VIX%20Futures%20Is%20Robust
(last accessed Mar. 16, 2018).
9
       See https://www.cboe.com/aboutcboe/cboe-cbsx-amp-cfe-press-releases?DIR=ACNews&FILE=
cboe_cfe_20060221.doc&CreateDate=21.02.2006&Title=CBOE%20TO%20BEGIN%20TRADING%20
OPTIONS%20ON%20THE%20CBOE%20VOLATILITY%20INDEX%20(VIX)%20ON%20FRIDAY,
%20FEBRUARY%2024,%202006 (last accessed Mar. 16, 2018).


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       C.      The Settlement of VIX Futures and Options

       39.     As discussed above, the final settlement value for VIX Futures and Options is not

determined the same way as the standard VIX benchmark calculation. Rather, final settlements

are derived based on a modified calculation known as the Special Opening Quotation or SOQ.

The SOQ is calculated using the auction clearing prices of SPX options.

       40.     The settlement of standard (i.e., 30-day) VIX Futures and Options contracts

generally occurs on the third or fourth Wednesday of each month that is 30 days prior to the third

Friday of the calendar month immediately following the month in which the contract expires.

For example, July 2010 VIX Futures contracts expired on Wednesday, July 21, 2010, which was

30 days prior to Friday August 20, 2010.

       41.     CBOE’s proprietary auction mechanism, known as the Hybrid Opening System or

HOSS, determines opening prices for the constituent SPX option series used in calculating the

SOQ of VIX Futures and Options. To determine the opening price, HOSS matches buy and sell

orders residing on the electronic order book immediately prior to market open. The algorithm

matches trades on a pro rata basis. The opening price for any constituent option series in which

there is no trade is the average of that option’s bid price and ask price as determined at the

opening of trading.

       42.     Starting at 7:30 a.m. CST and until 8:20 a.m. CST (8:15 a.m. prior to February 15,

2017, i.e., prior to the opening of normal trading hours), SPX Options orders are included in the

settlement calculation for VIX Options and Futures on the day of settlement of the underlying

contract.10 Between 8:20 a.m. CST and 8:30 a.m. CST, strategy orders — defined as SPX option



10
         John M. Griffin and Amin Shams, “Manipulation in the VIX?” (May 23, 2017),
https://ssrn.com/abstract=2972979 (last accessed Mar. 16, 2018) (hereinafter “Griffin Paper”);
“Cboe Volatility Index® (VIX® Index®) FAQs,” CBOE, http://www.cboe.com/products/vix-

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orders that are related to positions in VIX derivatives and span over a wide range of strikes with

30 days to maturity — can no longer be submitted or cancelled.11 Only orders unrelated to

outstanding VIX positions can be submitted after 8:20 a.m. CST. At 8:30 a.m., the prices of

SPX Options from this 7:30 a.m. until 8:20 a.m. window that meet the criteria for involvement in

the VIX calculation are used to determine the SOQ value.

       43.     The settlement price determined by the SOQ uses a formula similar to the spot

VIX benchmark. The forward SPX price is decided by the strike which has the smallest absolute

difference in price between the calls and puts. It then selects strikes using the forward SPX level

to determine which puts and calls are included in the calculation the same as with the spot VIX

benchmark until it reaches two consecutive zero bid strikes (see paragraph 30, supra). Using just

those strikes and forward level, the settlement price is determined through application of the

same formula used to calculate the spot VIX index.

       D.      VIX Exchange-Traded Products

       44.     Exchange-traded products (ETPs) are a type of security that is derivatively priced

and trades intra-day on a national securities exchange. ETPs are “hybrid instruments” under the

Commodity Exchange Act (7 U.S.C. §1(29)), priced so their value is derived from other

investment instruments, such as a commodity, a currency, a share price or an interest rate.

Generally, ETPs are benchmarked to stocks, commodities, or indices. They can also be actively

managed funds. ETPs include exchange-traded funds (ETFs), exchange-traded vehicles (ETVs),

exchange-traded notes (ETNs) and certificates. ETPs are traded on exchanges (like the New


index-volatility/vix-options-and-futures/vix-index/vix-faqs (last accessed Mar. 16, 2018);
“CBOE Regulatory Circular RG17-006 CFE Regulatory Circular RG17-001,” CBOE (Jan. 19,
2017), https://cfe.cboe.com/publish/CFEregcirc/CFERG17-001.pdf (last accessed Mar. 16,
2018).
11
       Griffin Paper at 8.

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York Stock Exchange), and thus can be bought and sold by individual investors as easily as any

share of common stock.

       45.     VIX trading exploded on the heels of the Financial Crisis of 2007-2008. For

example, between January 1, 2004 and December 31, 2006, the VIX never reached above 24 at

any single point. However, while U.S. financial markets were generally melting down during the

Financial Crisis, the VIX was growing — between January 1, 2007 and December 31, 2009, the

VIX closed above 24 on 376 out of 756 trading days (49.7% of trading days), closing at an all-

time high of 80.86 on November 20, 2008.12

       46.     Recognizing this as an opportunity, Barclays plc devised a product that was

ostensibly much more palatable for a wider investing audience. The bank created the first VIX

ETP: an instrument that tracks VIX futures, but which trades on an exchange like any other

corporate stock. The Barclays iPath S&P 500 VIX Short-Term Futures ETN launched in 2009.13

That instrument, along with other VIX ETPs that quickly followed, attracted a massive influx of

investors thanks to being readily available for trading on public exchanges.

       E.      CBOE’s Role in the VIX

       47.     CBOE was central to the creation of the VIX and the explosion in trading in VIX

Futures, VIX Options, and VIX ETPs. CBOE was solely responsible for determining and

selecting the formula used to calculate VIX, as well as the modified SOQ calculation process

used to determine the settlement price of VIX Futures and Options. The SPX Options that

influence VIX, VIX Futures, and VIX Options are all traded exclusively on CBOE Options


12
       See “VIX data for 2004 to present (Updated Daily),” VIX Options and Futures Historical
Data, CBOE, http://www.cboe.com/products/vix-index-volatility/vix-options-and-futures/vix-
index/vix-historical-data (last accessed Mar. 16, 2018).
13
        See    Product    Summary,       iPath® S&P     500® VIX      Short-Term     FuturesTM ETN,
http://www.ipathetn.com/US/16/en/details.app?instrumentId=259118 (last accessed Mar. 16, 2018).


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Exchange and/or CFE, and were all created by CBOE pursuant to the authority granted to it

under the Commodity Exchange Act. VIX ETPs were likewise dependent on CBOE’s selection

process for determining and calculating the VIX and the modified SOQ formula for settlement

prices of VIX Futures and Options.

       48.     As discussed above, during the timeframe of the VIX manipulation (January 1,

2009 to the present), trading in VIX Instruments skyrocketed. The following charts demonstrate

the rapid growth in average daily trading volume in both VIX Options and VIX Futures from

2006 through the first half of 2017:




                                             17
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       49.    CBOE charges a fee for every transaction involving VIX Futures and Options

contracts.14 CBOE’s revenue from overall transaction fees increased almost fourfold during the




14
       See CBOE Exchange, Inc. Fees Schedule – March 1, 2018, http://www.cboe.com/
publish/feeschedule/cboefeeschedule.pdf (last accessed Mar. 16, 2018).

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Proposed Class Period (dating from January 1, 2009 to the present), climbing to approximately

$1.56 billion in 2017.15

       50.      CBOE has profited handsomely from the creation of the VIX and its pivotal role

in the VIX market, and it has a vested interest in ensuring the VIX flourishes. A review of

CBOE’s 2017 earnings release yielded the following observations about VIX products:

            Excluding legacy Bats’ net revenue contribution, CBOE’s organic net revenue was
             $154.1 million, up $11.1 million or 8%, compared to the fourth quarter 2016. The
             increase is primarily attributable to stronger trading volume and higher revenue
             contributed from VIX futures and proprietary index options.

            Net transaction fees generated by CBOE’s proprietary index options accounted for
             83% of options net transaction fees and were up $10.3 million or 13% versus the
             fourth quarter of 2016 combined. The increase resulted from an 18% increase in
             index options ADV, driven by increases of 24% and 18% in VIX and SPX options,
             respectively, offset somewhat by a 4% decrease in the RPC for index options to
             $0.682 from $0.712 in last year’s fourth quarter.

            Futures net revenue of $35.6 million increased $8.5 million or 31%, primarily due to
             higher transaction fees resulting from a 21% increase in VIX futures ADV and a 7%
             increase in RPC. The RPC rose to $1.799 in the fourth quarter of 2017 compared
             with $1.683 in the fourth quarter of 2016, primarily due to pricing changes
             implemented in January 2017.

            In 2017, trading volume in VIX futures set a new record for the 13th consecutive year
             with ADV of 294,000 contracts, up 23 percent compared with 2016. According to
             CBOE’s 2016 Annual Report, CBOE’s “transaction fees generated by our futures and
             index options increased from approximately 57.5% of total transaction fees in 2011 to
             approximately 88.2% in 2016. This increase is primarily due to increased trading
             volume and fees generated by our proprietary VIX options and futures SPX options”
             with “[t]the bulk of this revenue . . . attributable to [CBOE’s] S&P 500 Index options
             and VIX Index options and futures.”16


15
       See CBOE Global Markets, Inc. 2017 Annual Report, http://ir.cboe.com/~/media/Files/C/CBOE-
IR-V2/financial-information/cboe-10-k-2017.pdf at 55 (last accessed Mar. 16, 2018).
16
        See CBOE Holdings, Inc. 2016 Annual Report, https://www.cboe.com/framed/pdfframed?
content=/aboutcboe/annualreportarchive/annual-report-2016.pdf&section=SEC_ABOUT_CBOE&title
=CBOE+Annual+Report+2016 at 26 (last accessed Mar. 16, 2018). This final point is telling, as SPX


                                                 19
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          51.   This growth in CBOE earnings as a result of transaction fees related to trading in

VIX Futures and VIX Options has also contributed to considerable growth in the value of shares

in CBOE Global Markets, Inc., the holding company of CBOE. Since June 14, 2010 (when

CBOE’s former non-stock corporation owned by its CBOE seat-holding members was converted

via a restructuring transaction into CBOE Global Markets Class A common stock owned by its

stockholders), the value of a share of CBOE Global Markets common stock has risen from an

IPO price of $29 to a March 13, 2018 closing price of $119.93 — a 300%+ increase in value.

An April 6, 2017 CBOE Notice of Proxy Meeting Statement reveals that all serving directors,

nominees, and executive officers of CBOE collectively held 2,099,085 shares of CBOE common

stock – all of which had been awarded to those directors, nominees, and executive officers since

2010.17

          52.   Under the Commodity Exchange Act, 7 U.S.C. §7(d), CBOE is also required to

monitor and enforce compliance with the rules of the contract market, including rules prohibiting

abusive trade practices and market manipulation.          The CBOE Office of Enforcement is

responsible for resolving disciplinary matters on behalf of the exchanges operated by CBOE.18

The Department of Market Regulation (“DMR”) is ultimately responsible for monitoring CBOE




Options are the very means by which Plaintiff and the Class members allege the John Doe Defendants
manipulated the VIX SOQ settlement, while VIX Futures and Options are the very products that stood to
benefit from such manipulation.
17
          See    CBOE     Holdings,    Inc.  Notice of    Annual    Meeting    of    Stockholders,
http://ir.cboe.com/~/media/Files/C/CBOE-IR-V2/documents/annual-proxy/2017-cboe-holdings-proxy-
statement.pdf (last accessed Mar. 15, 2018).
18
       See Office of Enforcement, http://www.cboe.com/aboutcboe/legal-regulatory/departmental-
overviews/office-of-enforcement (available at Mar. 16, 2018).


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compliance with trading rules and procedures, including the surveillance and investigative work

required therein.19

       53.     However, most surveillance for the CFE is conducted by FINRA and the National

Futures Association (“NFA”) pursuant to a Regulatory Services Agreement (“RSA”). As the

largest independent regulator for securities firms conducting business in the United States,

FINRA has at its disposal, a vast array of surveillance systems that are deployed throughout a

broad swath of financial markets. By virtue of these systems, FINRA is uniquely situated to

effectively detect manipulation that occurs across multiple markets.

       54.     Indeed, FINRA and CBOE acknowledged as much, in connection with the above-

referenced RSA entered into between these entities, effective January 2015.20         FINRA has

further stated in its Annual Reports: “Our cross-market surveillance patterns allow us to track

orders from their inception, as they move through markets and are either cancelled, replaced or

executed.    This is particularly important since some market participants are increasingly

dispersing their activity across trading venues in an effort to mask improper trading schemes.

More than 50 percent of our trading alerts involve conduct occurring on more than one market,

and more than 45 percent of our cross-market alerts involve two or more market participants.”21

       55.     Upon information and belief, as VIX Futures trading grew substantially during the

Class Period, CBOE prevented adequate surveillance of the market by FINRA and the NFA,

thereby allowing the manipulation to continue unabated and undetected. CBOE deliberately


19
        See “Department of Market Regulation,” CBOE http://www.cboe.com/aboutcboe/legal-
regulatory/departmental-overviews/department-of-market-regulation (last accessed Mar. 16, 2018).
20
        See FINRA Signs Regulatory Services Agreement with CBOE and                        C2,      at
http://www.finra.org/newsroom/2014/finra-signs-regulatory-services-agreement-cboe-and-c2         (last
accessed March 19, 2018).
21
       See also 2014 YIR AFR.


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sought to maintain the surveillance of Futures — and, specifically, VIX Futures — separate and

apart from the larger surveillance objectives handled by FINRA and the NFA. Under the RSA

with FINRA and the NFA, the enforcement tasks not covered by the NFA in the Futures market,

including audit trail examinations, quoting reviews, intra-day monitoring, and importantly, VIX

expiration review, are handled by CBOE’s Department of CFE Regulation (“CFER”).22 By

maintaining the exclusive purview of the VIX expiration within its own CFER, CBOE was able

to ensure that manipulation surrounding the VIX expiration would not be detected by a third-

party regulatory organization such as FINRA or the NFA.

       56.    Along similar lines, FINRA has the capabilities to conduct cross-market

surveillance which, in theory, would have detected the VIX manipulation that, by its very nature,

involves two distinct markets: (a) the affected market for VIX Instruments, and (b) the market

for S&P 500 options market which is used to manipulate the SOQ settlement value for the VIX

Instruments. However, CBOE did not enter into the FINRA RSA until January 2015, and even

then, any effort by FINRA to use its cross-market surveillance to detect cross-market

manipulation of the VIX was effectively neutered by weaknesses in CBOE’s CFER.               For

instance, according to a June 24, 2016 oversight report from the Commodity Futures Trading

Commission (“CFTC”), CBOE’s CFER had significant weaknesses in its ability to monitor

market manipulation, including “[a] considerable amount of staff turnover during the target

period [of March 1, 2014 to February 28, 2015 that] prevented the Exchange from maintaining,




22
       See “CFE Regulation,” CBOE, http://www.cboe.com/aboutcboe/legal-regulatory/departmental-
overviews/cfe-regulation (last accessed Mar. 16, 2018).


                                               22
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on a consistent basis, sufficient compliance staff to conduct and complete investigations in a

timely manner.”23

       57.     Regardless of CBOE’s failures with respect to enabling detection of the ongoing

manipulation, CBOE itself has acknowledged that “[n]otwithstanding that the CBOE has entered

into an RSA with a regulatory services provider, such as FINRA or NFA, to provide regulatory

services, the CBOE retains ultimate legal responsibility for, and control of, its self-regulating

responsibilities.”24 CBOE, therefore, bears ultimate responsibility for its own failures to employ

adequate surveillance systems to detect, investigate, and appropriately sanction the VIX

manipulation that was occurring.

       58.     In the rare instances it has identified and sanctioned abusive market practices

related to VIX Instruments, CBOE nonetheless imposed toothless sanctions that did little to deter

or adequately punish wrongdoers given the severity of the conduct. For example, Equitec

Proprietary Markets LLC, a Chicago-based trading firm and CBOE-designated market maker,

was found by the CBOE’s Business Conduct Committee in April 2017 to have submitted

manipulative orders in the constituent SPX options used in the VIX settlement calculation.

Equitec submitted buy-side SPX orders on constituent options after the applicable cutoff time of

8:15 a.m. CST, which improperly modified a previously submitted strategy order on the same

options, which was then used in the calculation of the October 2013 VIX settlement. Rather than

suspend Equitec or investigate further, CBOE instead opted to censure Equitec and fine it

$50,000, a sum that pales in comparison to the profit made off of the alleged manipulation.



23
        See Trade Practice Rule Enforcement Review of the CBOE Futures Exchange,
http://www.cftc.gov/idc/groups/public/@iodcms/documents/file/rercboefutures062416.pdf at 8 (last
accessed Mar. 16, 2018).
24
       See sr-cfe-2017-016.


                                               23
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II.     DEFENDANTS CONSPIRED TO FIX THE PRICES OF VIX INSTRUMENTS

        59.     The method by which VIX is calculated is particularly vulnerable to

manipulation. Simply put, if a VIX trader is long VIX futures, he can push the VIX up by

buying out-of-the-money SPX options. Likewise, if he is short VIX futures, he can push the

settlement down by colluding with other VIX traders to sell or write out-of-the-money SPX

Options. Although market participants can enter into trades of SPX options for legitimate

purposes, a variety of emerging information indicates that such trades have often been executed

manipulatively by the John Doe Defendants, including by the John Doe Defendants acting in

concert.

        60.     Essentially, the parties manipulating VIX ( John Doe Defendants) use the access

granted to them by CBOE as CBOE-authorized “market makers” in the S&P 500 options market

to collude amongst themselves to affect the VIX Index calculation, resulting in the VIX

settlement occurring at an artificial price.

        61.     In recent years, market participants, journalists, and academics have suggested

that the VIX is indeed being manipulated by certain players to the detriment of others.

Significantly, in May 2017, Professor John Griffin of the McCombs School of Business at The

University of Texas Austin, along with then-PhD candidate at the McCombs Business School,

Amin Shams, published a research paper (the “Griffin Paper”) titled Manipulation in the VIX?

        62.     The Griffin Paper made several key findings: (1) at the exact time of the monthly

VIX settlement, highly statistically significant trading volume spikes occur in underlying SPX

options; (2) the spikes occur only in out-of-the-money SPX options — those utilized for the VIX

settlement calculation — and more so for those with greater influence on the calculation;

(3) there is no spike in volume for the similar S&P 100 Index or in S&P 500 Exchange Traded




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Fund options, which are not connected to the VIX; and (4) traders manipulated the settlement by

optimally spreading their trades across the SPX option strikes and increasing the number of

trades in deep out-of-the-money put options consistent with the VIX formula, despite such

options rarely being traded otherwise.

       63.     According to the Griffin Paper, the steps required for a trader to manipulate the

VIX settlement are as follows: (1) open long positions in the VIX derivatives prior to settlement;

(2) submit aggressive buy or sell orders in the SPX options during the settlement auction, thereby

causing the auction-clearing prices of SPX options, and by extension, the VIX settlement price to

rise or fall; and (3) obtain the higher or lower price desired for the VIX Futures or Options when

they settle. Traders colluding with one another can manipulate the VIX either up or down

without the risk that counteracting market movements will offset or negate their gains.

       64.     Analyzing trade data from January 2008 through April 2015, the Griffin Paper’s

findings suggest that traders deliberately engaged in trading activity designed to push the

settlement price both up and down. For example, in months where the trading pushes the VIX

settlement price up, the prevailing price of the VIX-influencing options will jump during the

SOQ auction, peak at around 8:15 a.m. (i.e., the deadline for VIX-related bids to be accepted for

the SOQ prior to January 2017), and then drop seconds after the auction ends, when SPX

Options revert to normal trading patterns.

       65.     The Griffin Paper also found that that “at the exact time of monthly VIX

settlement [for VIX Futures and VIX Options], highly statistically and economically significant

trading volume spikes occur in the underlying SPX options” and that the “spike occur only in the

OTM [or out-of-the-money] SPX options that are included in the VIX [S]ettlement [Price]

calculation and not in the excluded in-the-money (ITM) SPX options”:




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       66.    Tellingly, the spike in out-of-the-money SPX Options during the settlement

window occurs principally in (otherwise) rarely traded SPX Options that are priced the furthest

out-of-the-money, and have a significant manipulative impact on the VIX Settlement Price:




       67.    Strong evidence of collusion is available by looking at fluctuations between

(a) the VIX benchmark at the day’s prior close, (b) the SOQ settlement value, and (c) the VIX



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benchmark at the open of the day immediately following the SOQ calculation window − and,

most importantly, through the direction in which the VIX was manipulated.

       68.     It is substantially more difficult to manipulate the VIX downward independently

because it requires selling out-of-the-money puts during the SOQ calculation window.

Manipulators must use significant amounts of money and have sufficient margin limits to write

and sell SPX Options cheaply themselves. Thus, doing so requires multiple large institutional

players, and could only be achieved by SPX Options market makers and others acting in concert,

where if any one of them was not cooperating, the entire enterprise would fail and the SPX

Options market makers would incur significant losses.25

       69.     A review of recent VIX data and SOQ prices in fact shows just this type of

manipulation. During the proposed Class Period, there are multiple instances of the SOQ having

a lower value than both the previous day’s close of the VIX and the opening of the VIX

immediately after the SOQ. Remarkably, in some instances, the SOQ was pushed lower right

before the opening of the VIX even when the VIX opened higher than it closed at the day before.

In addition, the value of the SOQ, through the activity of SPX Options market makers and

others, repeatedly settled at a value that was outside the entire range of the VIX both on the day

before the SOQ and the same day of the SOQ. These repeated anomalous settlement values

could have only occurred through multiple parties acting in concert to trade at artificial prices.

       70.     For example, on March 19, 2013, the VIX closed at 14.39. By the next day, on

March 20, 2013, based on activity in just the relatively illiquid SPX Options market, the SOQ

was 12.64, a decrease of 12.16%. Upon the VIX opening immediately after the SOQ that same




25
       See Griffin Paper at 9 n.12.


                                                 27
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day, however, the VIX had returned to 13.18, representing a 4.27% increase from the SOQ

value.26

        71.     On April 20, 2016, there was similar behavior indicative of collusion to drive

down the SOQ. On April 19, 2016, the VIX closed at 13.24. By settlement on the morning of

April 20, 2016, the SOQ was 12.38, a decrease of 6.5%.               Upon the opening of the VIX

immediately after the SOQ, however, the VIX had jumped back up to 13.39, representing an

8.16% increase from the SOQ value, and in fact, higher than the previous day’s close.27

        72.     On September 20, 2016, the VIX closed at 15.92. By settlement the following

morning, September 21, 2016, the SOQ was 14.92, a decrease of 6.28%. At the opening of the

VIX immediately after, however, the VIX was 15.07, representing a 1.01% increase from the

SOQ value.28

        73.     On October 18, 2016, the VIX closed at 15.28. By settlement the following

morning, October 19, 2016, the SOQ was 14.56, a decrease of 4.7%. At the opening of the VIX

immediately after, however, the VIX had not only returned to its prior closing level, it was

higher at 15.45, representing a 6.1% increase from the SOQ value.29

        74.     Again, on December 19, 2017, the VIX closed at 10.03.               By settlement the

following morning, December 20, 2017, the SOQ was 8.75, a decrease of 12.76%. Upon the




26
         See “VIX data for 2004 to present (Updated Daily),” VIX Options and Futures Historical Data,
CBOE,            http://www.cboe.com/products/vix-index-volatility/vix-options-and-futures/vix-index/vix-
historical-data (last accessed Mar. 16, 2018); Index Settlement Values, http://www.cboe.com/data/
historical-options-data/index-settlement-values (last accessed Mar. 16, 2018).
27
        Id.
28
        Id.
29
        Id.



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VIX opening immediately after the SOQ that same day, however, the VIX had returned to 9.69,

representing a 10.74% increase from the SOQ value.30

       75.     Finally, on February 13, 2018, the VIX closed at 24.97.       By settlement the

following morning, February 14, 2018, the SOQ was 21.87, a decrease of 12.41%. Upon the

VIX opening immediately after the SOQ, however, the VIX had moved upwards 23.48,

representing a 7.36% increase from the SOQ value.31

       76.     A further analysis of sample data provided by CBOE to cross-check the Griffin

Paper shows signs of manipulation. For example, it can be observed that, in multiple instances,

VIX Futures do not converge to the spot index at the Futures’ expiration. This runs counter to

what would be observed in a normally functioning, “clean” market. Not surprisingly, publication

of the incriminating article caused the behavior of Defendants to alter and for there to be more

(although still not perfect) convergence:




30
       Id.
31
       Id.



                                              29
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         77.     This type of manipulation contrary to both the pre-SOQ period closing and post-

SOQ opening VIX levels requires multiple traders working in collusion, including at least some

SPX Option market makers to drive down SPX options prices.               Furthermore, it can be

effectuated only as a result of CBOE’s intentional decisions with respect to the calculation of the

VIX and the SOQ, and CBOE’s determination as to which firms get to participate as market

makers in SPX Options and thus have the most influence over trades that impact the SOQ

calculation.

III.     VIX, VIX INSTRUMENTS, AND THE VIX SETTLEMENT PROCESS ARE
         INTENTIONALLY MADE VULNERABLE TO COLLUSION

         78.     Timothy Klassen, a member of the Goldman Sachs team that assisted CBOE in

the development of the VIX, said that “trying to manipulate the VIX is not conceptually different

from trying to manipulate any other index” that is dependent on underlying financial contracts.32

         79.     Market makers could collude and prearrange trades in order to manipulate the

VIX settlement. Without collusion from the major players, the VIX could not be manipulated

downward with any significant degree of frequency or to any substantial effect.

         80.     The market for VIX Instruments is large and liquid, which enables traders to

invest in a significant position that could benefit from a manipulated settlement. In contrast,

many of the SPX options are illiquid. The Griffin Paper found that “the size of VIX futures with

open interest at settlement is on average 5.7 times the size SPX options traded at settlement, and

it is 7.3 times for VIX options that are in-the-money at settlement.”33 As such, traders with a

large position in VIX Futures (either through VIX ETPs or the VIX Futures themselves) could

32
        See Elliot Blair Smith, “How S&P 500 options may be used to manipulate VIX ‘fear gauge,’”
MARKETWATCH (June 19, 2017), https://www.marketwatch.com/story/how-sp-500-options-may-be-
used-to-manipulate-vix-fear-gauge-2017-06-19 (last accessed Mar. 16, 2018).
33
         Griffin Paper at 32.



                                                30
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profit disproportionately in this position by collusively trading and/or making markets in

relatively smaller dollar value in SPX Options. In particular, manipulators working together can

trade a strip of deep out-of-the-money SPX put Options (which have mechanically higher

weighting than calls in the VIX formula), or set the market for those Options at predetermined

levels, in order to drive the VIX settlement price higher by including these options in the

calculation at a relatively de minimis cost and with little or no risk.

       81.      CBOE did not, however, always use out-of-the-money SPX Options in its VIX

calculation.   Prior to 2003, CBOE only used at-the-money and near-the-money strikes to

determine VIX.34 In 2003, CBOE redesigned the VIX calculation in consultation with Goldman

Sachs.35     As part of that redesign, CBOE included out-of-the-money strikes in its VIX

calculation while also switching to use of the S&P 500 Index rather than the S&P 100 Index.

       82.      VIX Futures and Options are also prone to manipulation because they are cash

settled.36 As a result, if the VIX settlement value deviates from its true value, the VIX position

will automatically be cashed out at the deviated price. By contrast, futures contracts of a physical

asset (e.g., cattle, oil) have the opportunity to opt for physical delivery of the asset upon


34
        Calculations are still made using this old methodology, under the ticker VXO. See “VIX data for
2004 to present (Updated Daily),” VIX Options and Futures Historical Data, CBOE,
http://www.cboe.com/products/vix-index-volatility/vix-options-and-futures/vix-index/vix-historical-data
(last accessed Mar. 16, 2018).            See also CBOE S&P 100 Volatility Index – VXO,
http://www.cboe.com/products/vix-index-volatility/volatility-on-stock-indexes/cboe-s-p-100-volatility-
index-vxo (last accessed Mar. 16, 2018). See also Peter Carr and Liuren Wu, “A Tale of Two Indices,”
THE JOURNAL OF DERIVATIVES (2006), http://faculty.baruch.cuny.edu/lwu/papers/vix.pdf (last accessed
Mar. 16, 2018).
35
         See Felix Goltz, Renata Guobuzaite, and Lionel Martellini, “Introducing a New Form of
Volatility Index: The Cross Sectional Volatility Index,” EDHEC BUSINESS SCHOOL (Jan. 2011),
http://www.edhec-risk.com/edhec_publications/all_publications/RISKReview.2012-05-14.0334/
attachments/EDHEC_Working_Paper_Introducing_a_New_Form_of_Volatility_Index_F.pdf           (last
accessed Mar. 16 2018).
36
       Griffin Paper at 9.



                                                  31
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settlement. Even if the asset in question was trading at an inflated price, after the manipulative

trader receives delivery of the asset, the price of that asset may quickly fall to the original — or

actual market − value when the manipulator attempts to exit the position. As such, cash-settled

instruments create an adverse incentive and are generally easier to manipulate.

        83.     Another aspect of the VIX settlement calculation that makes VIX Instruments

vulnerable to manipulation is that settlement occurs based on a special opening value generated

in a single narrow window that is outside of normal trading hours. That combination means that

a single manipulative trade can have a significant influence on the settlement calculation.

Furthermore, trading in a narrow window outside of normal trading hours means that the John

Doe Defendants do not have to defend their manipulative trades over a longer period of time

against market forces present during normal trading hours. If the SOQ settlement window was

longer and during normal market hours, the John Doe Defendants would have difficulty reaping

their ill-gotten gains.37

        84.     An additional aspect of the VIX settlement calculation that makes VIX

Instruments vulnerable to manipulation is that there is a relatively de minimis 0.05 per option

contract threshold for an SPX Option to be included in the settlement calculation. Combined

with the ability to manipulate the VIX settlement calculation during only a single, relatively

narrow window, Defendants can manipulate large positions in VIX Instruments cheaply and

easily through SPX Options.

        85.     CBOE purposefully crafted its SOQ calculation methodology for the VIX

settlement in such a way that it was readily susceptible to manipulation, even as other, near-

equivalent indices selected settlement calculations which included additional safeguards

designed to prevent manipulation. For example, the VSTOXX index, which is a European
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        Id.


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volatility index equivalent to the VIX and is traded through options and futures, does not use a

single opening price. Instead, settlement of VSTOXX options and futures is based on the average

of VSTOXX values calculated every five seconds over the course of a 30-minute trade window.

In addition, VSTOXX options and futures are settled only using trades that have a premium of at

least 0.5 euros. As a consequence, anyone wishing to manipulate the VSTOXX has to maintain

the price discrepancy for a longer period of time at a higher cost, and at greater risk than they

need to in order to manipulate the VIX.

       86.    Furthermore, the VSTOXX final settlement price is established by the Eurex

Exchange. The final settlement price is the average of the VSTOXX index values calculated

every five seconds over the course of 30 minutes from 11:30-12:00 CET. The calculation

occurs during normal market trading hours. In contrast, the VIX futures settlement occurs

during an SOQ period prior to the opening of the market, which renders it much more prone to

collusive manipulation by a small number of SPX Options traders and market makers.

       87.    The fact that VSTOXX is calculated as an average of the VSTOXX index values

during normal market trading means that its value by definition always falls within and between

the intraday high and low of VSTOXX on the settlement day. By contrast, the SOQ has, on 12

separate occasions since January 2012 – or 16.2% of the total 74 SOQ settlements in that time

period – settled at a value outside of the intraday VIX highs/lows for both the day before the

SOQ and the day of the SOQ – indicating a high susceptibility to and likelihood of coordinated

manipulation of the SOQ settlement by SPX Options traders and market makers during the SOQ

window:




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 SOQ Date Day Before High   Day Before Low   SOQ Value        SOQ Day High   SOQ Day Low   Percent Outside Closest Limit
12/20/2017     10.15             9.18           8.75              9.85           8.9                              -1.69%
10/18/2017     10.46             9.78          10.53             10.41           9.87                              0.67%
8/16/2017      12.37             11.45         12.95             12.54          11.25                              3.27%
2/15/2017      11.34             10.73         12.26             12.01           10.8                              2.08%
11/16/2016     14.65             13.3          14.76             14.49          13.51                              0.75%
4/20/2016      13.88             12.98         12.38              13.5           12.5                             -0.96%
1/22/2014      13.42             12.61         12.36             13.12          12.55                             -1.51%
11/20/2013     13.68             12.88         14.12             13.94          12.97                              1.29%
9/18/2013      14.61             14.28         14.77             14.68          13.23                              0.61%
6/19/2013      16.95             16.46         17.22             17.18          15.36                              0.23%
10/17/2012     15.23             14.5          15.96             15.63           14.9                              2.11%
1/18/2012      22.25             20.69         23.64             23.44          20.78                              0.85%

       88.      Tellingly, the VIX futures volume is approximately double the VSTOXX futures

volume. VIX futures have about 70% more open interest:




       89.      The John Doe Defendants also take advantage of the fact that, in the event there is

no opening trade, CBOE uses the average of the bid and the ask price for the SPX Option as




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determined at the time of opening.38 This permits Defendants in many instances to influence the

VIX settlement calculation without even needing to use any capital.

       90.     CBOE effectively serves as the ringleader to this illicit activity, as it alone has

created the environment in which this collusive conduct can occur. CBOE alone determines

which firms are afforded market-making privileges in SPX Options, it alone determines the

eligibility rules/requirements to be a market maker, and it alone shelters the identity of SPX

Options market makers from public disclosure.39 SPX Options market makers pay additional

revenue to CBOE and/or receive commission discounts and other trading privileges by virtue of

their respective roles as market makers. Upon information and belief, some or all SPX Options

market makers are John Doe Defendants.

       91.     CBOE’s decisions to: (a) incorporate out-of-the-money SPX Options in the VIX

settlement calculation; (b) give greater weight to certain SPX Options; (c) not require a premium

threshold for SPX Options to be included in the settlement calculation; (d) base the SOQ on a

single opening price; (e) sometimes use a special opening price based not on actual trades but

solely on bid-ask spreads; and (f) grant SPX Options market-making privileges to some or all of

the same institutions engaging in collusive and manipulative conduct are all indicative of

CBOE’s intent to facilitate manipulation and collusion of VIX Instruments.




38
         See VIX Special Opening Quotation (SOQ), Macroption, http://www.macroption.com/vix-soq/
(last accessed Mar. 16, 2018).
39
         See CBOE Trading Permit Holder Forms Library, https://www.cboe.org/general-info/trading-
permit-holder-forms (last accessed Mar. 16, 2018). See also Trading Permits, http://cfe.cboe.com/trade-
cfe/trading-permits (last accessed Mar. 16, 2018). See also Rules of CBOE Exchange, Inc.,
http://www.cboe.com/publish/cboe-rules/cboe-exchange-inc-rule-book.pdf (last accessed Mar. 16, 2018).
See also CBOE Futures Exchange, LLC Rulebook https://cfe.cboe.com/publish/cferulebook/cfe-rule-
book.pdf (last accessed Mar. 16, 2018).


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IV.     INVESTIGATIONS AND COMPLAINTS

        92.     On February 5, 2018, the Dow Jones Industrial Average had its biggest ever one-

day point decline. As a consequence, the VIX increased 116% that day alone.40

        93.     This dramatic increase in the VIX led to massive losses in VIX ETPs, especially

inverse ETPs that are negatively correlated to the VIX. This VIX movement triggered rules that

halted trading in nearly a dozen ETPs.41 For example, Credit Suisse’s VelocityShares Daily

Inverse VIX Short-Term ETN (trading under the symbol XIV) had an opening price on

February 5, 2018 of $108.37, representing a total value of at least $1.63 billion (and perhaps as

much as $1.8 billion) according to contemporaneous reports.42 According to a February 9, 2018

article by Matt Levine, a columnist for Bloomberg and former investment banker at Goldman

Sachs, “[o]ver the next two days [XIV’s] value declined by 95 percent, to an indicative value of

$80 million at the close of trading on Tuesday [February 6].”43 This resulted from the above-

mentioned 116% increase in the VIX on February 5, which caused a corresponding inverse


40
       See Julia Horowitz and Matt Egan, “Market fear is back in a big way,” CNN MONEY (Feb. 5,
2018), http://money.cnn.com/2018/02/05/investing/vix-volatility-index-dow/index.html (last accessed
Mar. 16, 2018).
41
       See Jan-Henrik Foerster and Rachel Evans, “Credit Suisse Fund Liquidated, ETFs Halted as
Short-Vol Bets Die,” BLOOMBERG MARKETS (Feb. 6, 2018), https://www.bloomberg.com/news/articles/
2018-02-06/credit-suisse-is-said-to-consider-redemption-of-volatility-note (last accessed Mar. 16, 2018).
42
         See Thomas Frank, “Obscure security linked to stock volatility plummets 80% after hours,
sparking worries of bigger market effect,” CNBC (Feb. 5, 2018), https://www.cnbc.com/2018/02/05/xiv-
exchange-traded-security-linked-to-volatility-plummets-80-percent.html (last accessed Mar. 16, 2018);
Landon Thomas Jr., “Volatility rattles stocks, and investors who bet on continuing calm,” THE NEW
YORK TIMES (Feb. 6, 2018), https://www.nytimes.com/2018/02/06/business/stock-market-volatility.html
(last accessed Mar. 16, 2018); Velocity Shares Pricing Supplement issued by Credit Suisse AG (Jan. 29,
2018),       http://app.velocitysharesetns.com/files/prospectus/CS_VIX_VelocityShares_ETN_Amended_
Final_Pricing_Supplement_AR48_long_form_2.PDF (last accessed Mar. 16, 2018).
43
         See Matt Levine, “Inverse Volatility Products Almost Worked,” BLOOMBERG VIEW (Feb. 8,
2018), https://www.bloomberg.com/view/articles/2018-02-09/inverse-volatility-products-almost-worked
(last accessed Mar. 16, 2018).



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decline in XIV, and led Credit Suisse to announce that it would liquidate XIV in a termination

cash payout on February 21, 2018 at a price of $6.04 per share, or about $90 million in total

value.44 Taken together, this equates to a total decrease of at least $1.54 billion in XIV’s value,

and an equivalent loss to investors.

       94.     On February 12, 2018, an anonymous whistleblower who “has held senior

positions at some of the largest investment firms in the world,” reported to the Securities and

Exchange Commission and the Commodity Futures Trading Commission widespread

manipulation of VIX. The whistleblower asserted that a “pervasive flaw” introduced by CBOE

permits “trading firms with sophisticated algorithms to move the VIX up or down by simply

posting quotes on [SPX Options] and without needing to physically engage in any trading or

deploying any capital.”       The whistleblower speculated that the collapse in certain VIX

derivatives like XIV was partially the result of market manipulation of the VIX.

       95.     The whistleblower identifies SPX Options market makers as the entities best

positioned to avail themselves of these manipulative trading practices. This is the case not only

because they have the resources necessary to engage in the sophisticated manipulation easily, but

also because they are uniquely positioned to set prices on SPX Options used in the VIX

settlement calculation. This effect is magnified when the opening price to determine the SOQ is

not based on an actual trade, but rather a bid-ask spread.

       96.     The whistleblower letter, along with the Griffin Paper and the above-referenced

February 2018 market disruption, has spawned multiple investigations.                 Some of these



44
        See Lawrence McMillan, “XIV: the scapegoat of the market’s decline,” SEEKING ALPHA (Mar. 2,
2018), https://seekingalpha.com/article/4155721-xiv-scapegoat-markets-decline (last accessed Mar. 16,
2018); “Credit Suisse AG Announces Event Acceleration of its XIV ETNs,” CREDIT SUISSE AG (Feb. 6,
2018), https://www.credit-suisse.com/corporate/en/articles/media-releases/credit-suisse-announces-event-
acceleration-xiv-etn-201802.html (last accessed Mar. 16, 2018).


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investigations encompass not only specific ETPs or ETPs generally, but also broader inquiries

into widespread manipulation of the VIX itself as alleged herein.

       97.     On February 13, 2018, both the Wall Street Journal and the Financial Times

reported that the Financial Industry Regulatory Authority (FINRA), is examining whether prices

linked to the VIX have been manipulated.

       98.     On February 23, 2018, Bloomberg reported that both the Securities and Exchange

Commission and the Commodities Futures Trading Commission “have been conducting a broad

review of trading since February 5, 2018 when volatility spiked and investors lost billions of

dollars.” The Bloomberg article also notes that because of the substantial investor losses arising

from recent market events, “allegations of market manipulation are getting more attention and

government watchdogs face questions about why small-time investors were permitted to buy

such products in the first place.”

       99.     Former regulators of both the SEC and the CFTC have also weighed in, making

public statements indicating their belief that the settlement of VIX Instruments has been, or is

being, manipulated. Former CFTC Commissioner, Bart Chilton, was quoted by CNBC on

February 14, 2018, saying that VIX manipulation “rings true to me” and that “there’s certainly

enough smoke” to warrant scrutiny of possible VIX manipulation.45 On February 16, 2018,

former SEC Chairman, Harvey Pitt, was quoted as saying that while “a product like VIX

[Instruments] could be valuable to institutional investors who want to hedge against a precipitous

drop in the market . . . it’s quite clear that these indexes’ options can be manipulated. And when




45
       See Matthew Belvedere, “Former CFTC Commissioner: Whistleblower allegation about volatility
index manipulation ‘rings true,’” CNBC (Feb. 14, 2013), https://www.cnbc.com/2018/02/14/ex-cftc-
head-bart-chilton-on-whistleblower-vix-manipulation-allegation.html (last accessed Mar. 16, 2018).



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there were complaints about possible manipulation, CBOE, as the marketplace, should have

sprung into action.”46

       100.    Despite the Griffin Paper, the whistleblower letter, the announcement of

FINRA/SEC/CFTC investigations, and comments from former Commissioner Chilton and

former Chairman Pitt indicating their susceptibility to manipulation and likelihood that they have

been manipulated, CBOE continues to allow trading in VIX Futures and VIX Options (as well as

VIX ETPs based on those VIX Futures).

V.     PLAINTIFF AND THE CLASSES SUFFERED ANTITRUST INJURY

       101.    Defendants injured Plaintiff and Class members by manipulating the prices of

VIX Instruments. The pricing of VIX Instruments is based on fundamental market forces of

supply and demand. Specifically, the prices of VIX Instruments are inherently based on the VIX

and the VIX SOQ. Defendants understood that they could directly or indirectly manipulate the

prices of VIX Instruments through the manipulation of the VIX.

       102.    Defendants’ combination, conspiracy, and/or agreement to manipulate the prices

of VIX Instruments harms competition in the market for VIX Instruments in the United States.

Absent the John Doe Defendants’ collusion with each other and CBOE – which allowed the

manipulation to continue, and failed to take steps to prevent it or stop it once it was apparent that

it was occurring – those transacting in VIX Instruments would have transacted at competitive

prices and reaped the benefits of competitive VIX settlement calculations. No one Defendant

could accomplish systematic and continuing manipulation of VIX and the VIX settlement

process without coordinating with its rivals. Absent an agreement not to compete, the conduct


46
         See Mark DeCambre, “Ex-SEC chairman says ‘it’s quite clear’ Wall Street’s ‘fear gauge’ can be
manipulated,” MARKETWATCH (Feb. 16, 2018), https://www.marketwatch.com/story/ex-sec-chairman-
says-its-quite-clear-wall-streets-fear-gauge-can-be-manipulated-2018-02-16 (last accessed Mar. 16,
2018).


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alleged herein would be a risky strategy because market makers and swaps dealers would almost

certainly be similarly positioned to profit from manipulation going into the settlement.

Defendants benefited from coordinating their market activities.

        103.    Defendants’ collusion caused VIX Instruments to trade at artificial prices.

Defendants’ unlawful conduct deprives Plaintiff and Class members who transact in VIX

Instruments of a competitive marketplace and exposes them to artificial volatility. The harm

Plaintiff and the Class members have suffered is quantifiable. The added costs to Plaintiff and

the Class members incurred due to Defendants’ anticompetitive conduct results in artificial

prices charged to investors in VIX Instruments.

        104.    Plaintiff and the Class members are suitable plaintiffs for pursuing antitrust

violations by Defendants, insofar as they transacted in VIX Instruments during the Class Period,

and thus were harmed by Defendants’ anticompetitive conduct.

        105.    As a direct, intended, foreseeable, and proximate result of Defendants’ unlawful

conspiracy and acts in furtherance of their conspiracy, Plaintiff and Class members have been

injured in their business and property, in violation of federal antitrust laws. The injury to

Plaintiff and Class members is the type the antitrust laws were designed to prevent and directly

flows from Defendants’ unlawful anticompetitive conduct.

VI.     DEFENDANTS FRAUDULENTLY CONCEALED THEIR MANIPULATION

        106.    Any applicable statute of limitations has been tolled by Defendants’ knowing and

active concealment of their manipulation of the prices of VIX Instruments. Through no fault or

lack of diligence, Plaintiff and Class members were deceived regarding Defendants’

manipulation of the prices of VIX Instruments and could not reasonably discover the

manipulation.




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         107.   As alleged herein, Defendants’ manipulation of the prices of VIX Instruments was

material to Plaintiff and Class members at all relevant times. Within the time period of any

applicable statutes of limitations, Plaintiff and Class members could not have discovered through

the exercise of reasonable diligence that Defendants were manipulating the prices of VIX

Instruments, in part because the trading records and roster of SPX market makers are concealed.

         108.   Plaintiff and Class members did not discover and did not know of any facts that

would have caused a reasonable person to suspect that Defendants were manipulating the prices

of VIX Instruments.

         109.   Defendants knowingly, actively, and affirmatively concealed the facts alleged

herein, including their manipulation of the prices of VIX Instruments.        Plaintiff and Class

members reasonably relied on Defendants’ knowing, active, and affirmative concealment. Thus,

all applicable statutes of limitation have been tolled based on the discovery rule and Defendants’

fraudulent concealment, and Defendants are estopped from relying on any statutes of limitations.

                              CLASS ACTION ALLEGATIONS

110.     Plaintiff brings this action under Federal Rules of Civil Procedure 23(a) and 23(b)(1),

(b)(2), and (b)(3) on behalf of himself and all members of the Proposed Classes:

                         VIX FUTURES AND OPTIONS CLASS

         All persons who traded VIX Futures or Options in the United States on or after
         January 1, 2009; and

                    VIX EXCHANGE-TRADED PRODUCTS CLASS

         All persons who traded VIX ETPs on an exchange in the United States on or after
         January 1, 2009.

         111.   Excluded from the Classes are Defendants; the officers, directors, or employees of

any Defendant; any entity in which any Defendant has a controlling interest; any affiliate, legal


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representative, heir, or assign of any Defendant and any person acting on their behalf. Also

excluded from the Classes are any judicial officers presiding over this action and the members of

his/her immediate family and judicial staff, and any juror assigned to this action.

       112.    The Classes are readily ascertainable and are ones for which records should exist,

including, specifically, Defendants’ records and transaction data.

       113.    Due to the nature of the trade and commerce involved, Plaintiff believes that there

are thousands of geographically dispersed Class members, the exact number and their identities

being known to Defendants, or capable of identification via third parties.

       114.    Plaintiff’s claims are typical of the claims of the members of the Classes.

Plaintiff and members of the Classes sustained damages arising out of Defendants’ common

course of conduct in violation of the laws alleged herein. The damages and injuries of each

member of the Classes were directly caused by Defendants’ wrongful conduct.

       115.    There are questions of law and fact common to the Classes, including, but not

limited to, the following:

          whether John Doe Defendants engaged in a conspiracy with each other to manipulate
           the prices of VIX Instruments;

          whether CBOE engaged in a conspiracy with the John Doe Defendants to manipulate
           the prices of VIX Instruments;

          whether Defendants’ conduct is a per se violation of Section 1 of the Sherman Act;

          whether Defendants’ conduct constitutes manipulation under the CEA;

          the identity of the John Doe Defendants in the conspiracy; and

          the appropriate class-wide measure of damages.

       116.    Plaintiff will fairly and adequately protect the interests of the members of the

Classes. Plaintiff’s interests are aligned with, and not antagonistic to, those of the other members




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of the Classes, and Plaintiff has retained counsel competent and experienced in the prosecution

of class actions and financial litigation to represent himself and the Classes.

       117.    Questions of law or fact that are common to the members of the Classes

predominate over any questions affecting only individual members of the Classes.

       118.    A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. The prosecution of separate actions by individual members of

the Classes would impose heavy burdens on the courts and Defendants and would create a risk of

inconsistent or varying adjudications of the questions of law and fact common to the Classes. A

class action, on the other hand, would achieve substantial economies of time, effort, and expense

and would assure uniformity of decision as to persons similarly situated without sacrificing

procedural fairness or bringing about other undesirable results. Absent a class action, it would

not be feasible for the vast majority of the members of the Classes to seek redress for the

violations of law alleged herein.

                                     CLAIMS FOR RELIEF

                                         CLAIM ONE
                       Violation of §1 of the Sherman Act, 15 U.S.C. §1
                     (Against All Defendants by both the VIX Futures and
                            Options Class and the VIX ETP Class)

       119.    Plaintiff repeats and incorporates by reference each of the foregoing allegations of

this Complaint.

       120.    Beginning at least as early as January 1, 2008, and continuing through the present,

the exact dates being unknown to Plaintiff, Defendants entered into and engaged in a conspiracy

in unreasonable restraint of trade in violation of Section 1 of the Sherman Act, 15 U.S.C. §1.

       121.    Plaintiff alleges a contract, combination, or conspiracy exists between or among

Defendants that unreasonably restrains and/or eliminates trade. The conspiracy consisted of a


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continuing agreement, understanding, or concerted action between and among Defendants and

their co-conspirators in furtherance of which Defendants fixed, maintained, or made artificial

prices related to VIX Instruments as alleged herein.

       122.    There is no legitimate business justification for, or procompetitive benefits caused

by, Defendants’ unreasonable restraint of trade. Any ostensible procompetitive benefit was

pretextual or could have been achieved by less restrictive means.

       123.    Defendants’ conspiracy is a per se violation of the Sherman Act and is, in any

event, an unreasonable and unlawful restraint of trade. This contract, combination, or conspiracy

had anticompetitive effects, as alleged herein.

       124.    As a direct, intended, foreseeable, and proximate result of Defendants’ conspiracy

and overt acts taken in furtherance thereof, Plaintiff has suffered injury to his business or

property. The injury to Plaintiff and members of the Class are of the type the antitrust laws were

designed to prevent and flow from that which makes Defendants’ acts unlawful.

       125.    Defendants are engaged in commerce in the United States, and the

anticompetitive conduct alleged herein involves VIX Instruments that are in the flow of interstate

commerce and which will and has substantially impacted interstate commerce because VIX

Instruments are traded by investors throughout the United States.

       126.    WHEREFORE, Plaintiff and the Class members request the Court to enter

judgment in their favor against Defendants, jointly and severally, awarding all damages, in an

amount to be proven at trial, costs, and such other relief as the Court deems appropriate and just.




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                                       CLAIM TWO
                  Manipulation in Violation of the Commodity Exchange Act
             (Against John Doe Defendants by the VIX Futures and Options Class)

          127.   Plaintiff repeats and incorporates by reference each of the foregoing allegations of

this Complaint.

          128.   Each Defendant, individually, in concert, and/or as one another’s control persons

or agents, through their acts alleged herein, specifically intended to and did cause unlawful and

artificial prices of VIX Futures and Options contracts in violation of the CEA, 7 U.S.C. §1, et

seq.

          129.   The Defendants’ manipulative conduct and trading activity alleged herein

constituted a manipulation of the prices of VIX Instruments in violation of Section 4b(a), 4c(a),

9(a) and 22(a) of the CEA, 7 U.S.C. §§6b(a), 6c(a), 13(a)(2), and 25(a). As a direct result of

Defendants’ unlawful conduct, Plaintiff and members of the proposed Class have suffered actual

damages and injury in fact due to artificial prices for VIX Instruments to which they would not

have been subject but for the unlawful conduct alleged herein.

          130.   Plaintiff and members of the proposed Class were further legally injured and

suffered injury in fact when they transacted VIX Instruments in an artificial and manipulated

market operating under the artificial prices caused by the Defendants. Plaintiff and members of

the proposed Class are each entitled to their actual damages for the violations of the CEA alleged

herein.

                                     CLAIM THREE
        Aiding and Abetting Manipulation in Violation of the Commodity Exchange Act
             (Against John Doe Defendants by the VIX Futures and Options Class)

          131.   Plaintiff repeats and incorporates by reference each of the foregoing allegations of

this Complaint.




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       132.    John Doe Defendants by, inter alia, using VIX features introduced by CBOE and

through the collusive posting of quotes and trading of SPX Options, knowingly aided, abetted,

counseled, induced, and/or procured the violations of the CEA by other John Doe Defendants as

alleged herein. The John Doe Defendants further coordinated their trading and market activity

for the purposes of manipulating VIX Instruments.

       133.    Each John Doe Defendant did so knowing of the other John Doe Defendants’

manipulation of the prices of SPX Options underlying the prices of VIX Instruments. The

conduct alleged herein demonstrates that Defendants substantially and willfully intended to assist

these manipulations so as to cause prices of VIX Instruments to be artificial, in violation of

Section 22(a)(1) of the CEA.

       134.    Under Section 13c(a) of the CEA, 7 U.S.C. §13, Defendants are liable for

willfully intending to assist the manipulation.

       135.    Other persons willfully intended to assist these manipulations to cause VIX

Instruments to trade at artificial levels − the agents and unnamed co-conspirators as alleged

herein − in violation of §22(a)(1) of the CEA, 7 U.S.C. §25(a)(1).

       136.    Plaintiff and members of the proposed Class are each entitled to actual damages

sustained for the violations of the CEA alleged herein.

                                     CLAIM FOUR
            Manipulation by False Reporting and Fraud and Deceit in Violation
                            of the Commodity Exchange Act
           (Against John Doe Defendants by the VIX Futures and Options Class)

       137.    Plaintiff repeats and incorporates by reference each of the foregoing allegations of

this Complaint.

       138.    Under Section 6(c)(1) of the CEA, as amended, codified at 7 U.S.C. §9, and

Section 22 of the CEA, as amended, 7 U.S.C. §25, it is unlawful for any person, directly or



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indirectly, to use or employ, or attempt to use or employ, in connection with any swap, or a

contract of sale of any commodity in interstate commerce, or for future delivery on or subject to

the rules of any registered entity, any manipulative or deceptive device or contrivance, in

contravention of such rules and regulations as the CFTC shall promulgate.

       139.    In July 2011, the CFTC promulgated Rule 180.1(a), 17 C.F.R. §180.1(a) (2011),

pursuant to Section (6)(c)(1), which provides, in relevant part:

       It shall be unlawful for any person, directly or indirectly, in connection with any
       swap, or contract of sale of any commodity in interstate commerce, or contract for
       future delivery on or subject to the rules of any registered entity, to intentionally
       or recklessly:

               (1) Use or employ, or attempt to use or employ, any manipulative device,
               scheme, or artifice to defraud;

               (2) Make, or attempt to make, any untrue or misleading statement of a
               material fact or to omit to state a material fact necessary in order to make
               the statements made not untrue or misleading;

               (3) Engage, or attempt to engage, in any act, practice, or course of business
               which operates or would operate as a fraud or deceit upon any person; or

               (4) Deliver or cause to be delivered, or attempt to deliver or cause to be delivered
               for transmission through mails or interstate commerce, by any means of
               communication whatsoever, a false or misleading or inaccurate report concerning
               crop or market information or conditions that affect or tend to affect the price of
               any commodity in interstate commerce, knowing or acting in reckless disregard of
               the fact that such report is false, misleading or inaccurate.

       140.    Unlawful manipulation under the CEA, as amended, and Rule 180.1 includes

delivering, or causing to be delivered for transmission through the mails or interstate commerce,

by any means of communication whatsoever, a false or misleading or inaccurate report

concerning market information or conditions that affect or tend to affect the price of any

commodity in interstate commerce, knowing, or acting in reckless disregard of the fact that such

report is false, misleading, or inaccurate.




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       141.    During the Class Period, Defendants used or employed manipulative or deceptive

devices or contrivances, in connection with a contract of sale or purchase of SPX Options and

VIX Instruments in interstate commerce.          This conduct included the making of untrue,

inaccurate, or misleading statements of material facts, or omitting material facts necessary to

make the statements made not misleading, such as the posting or bidding on of artificial prices

for SPX Options in order to influence the prices of VIX Instruments, and failing to disclose that

Defendants entered pre-arranged transactions to move the prices of VIX Instruments in a

direction to benefit their own trading books.

       142.    Defendants’ conduct caused injury to Plaintiff and other members of the Class

who transacted in an artificial and manipulated market, at manipulated prices, and with artificial

price trends, during the Class Period.

       143.    Plaintiff and other members of the Class are each entitled to damages for the

violations of the CEA alleged herein.

                                      CLAIM FIVE
    Failure to Enforce Bylaws, Rules, Regulations, or Resolutions that It Is Required to
                   Enforce in Violation of the Commodity Exchange Act
                  (Against CBOE by the VIX Futures and Options Class)

       144.    Plaintiff repeats and incorporates by reference each of the foregoing allegations of

this Complaint.

       145.    Pursuant to 7 U.S.C. §25(b)(1), “[a] registered entity that fails to enforce any

bylaw, rule, regulation, or resolution that it is required to enforce by section 7, 7a-1, 7a-2, 7b-3,

or 24a of this title . . . [or] a licensed board of trade that fails to enforce any bylaw, rule,

regulation, or resolution that it is required to enforce by the Commission . . . shall be liable for

actual damages sustained by a person who engaged in any transaction on or subject to the rules

of such registered entity to the extent of such person’s actual losses that resulted from such



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transaction and were caused by such failure to enforce . . . such bylaws, rules, regulations, or

resolutions.”

       146.     CBOE is a registered entity under the terms of 7 U.S.C. §1a(40).

       147.     Plaintiff and other members of the Class engaged in transactions of VIX Futures

and VIX Options subject to the rules of CBOE.

       148.     As detailed in the Complaint above, as a registered entity, CBOE knowingly

failed to enforce (and/or with reckless disregard of its rules/regulations avoided acquiring such

knowledge necessary to enforce) the following mandatory rules that CBOE was required to

follow under the Commodity Exchange Act:

                 a. 7 U.S.C. §7(d)(2)(A): “The board of trade shall establish, monitor, and

                     enforce compliance with the rules of the contract market, including . . .

                     (iii) rules prohibiting abusive trade practices on the contract market.”

                 b. 7 U.S.C. §7(d)(2)(B): “ The board of trade shall have the capacity to detect,

                     investigate, and apply appropriate sanctions to any person that violates any

                     rule of the contract market.”

                 c. 7 U.S.C. §7(d)(3): “The board of trade shall list on the contract market only

                     contracts that are not readily susceptible to manipulation.”

                 d. 7 U.S.C. §7(d)(4): “The board of trade shall have the capacity and

                     responsibility to prevent manipulation, price distortion, and disruptions of

                     the delivery or cash-settlement process through market surveillance,

                     compliance, and enforcement practices and procedures, including −

                     (A) methods for conducting real-time monitoring of trading; and

                     (B) comprehensive and accurate trade reconstructions.”




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          e. 7 U.S.C. §7(d)(5)(A): “To reduce the potential threat of market

             manipulation or congestion (especially during trading in the delivery

             month), the board of trade shall adopt for each contract of the board of trade,

             as is necessary and appropriate, position limitations or position

             accountability for speculators.”

          f. 7 U.S.C. §7(d)(9)(A): “The board of trade shall provide a competitive, open,

             and efficient market and mechanism for executing transactions that protects

             the price discovery process of trading in the centralized market of the board

             of trade.”

          g. 7 U.S.C. §7(d)(10): “The board of trade shall maintain rules and procedures

             to provide for the recording and safe storage of all identifying trade

             information in a manner that enables the contract market to use the

             information − (A) to assist in the prevention of customer and market abuses;

             and (B) to provide evidence of any violations of the rules of the contract

             market.”

          h. 7 U.S.C. §7(d)(12): “The board of trade shall establish and enforce rules −

             (A) to protect markets and market participants from abusive practices

             committed by any party, including abusive practices committed by a party

             acting as an agent for a participant; and (B) to promote fair and equitable

             trading on the contract market.”

          i. 7 U.S.C. §7(d)(19): “Unless necessary or appropriate to achieve the

             purposes of this chapter, the board of trade shall not − (A) adopt any rule or

             taking [sic] any action that results in any unreasonable restraint of trade; or




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                     (B) impose any material anticompetitive burden on trading on the contract

                     market.”

       149.    As detailed in the Complaint above, CBOE had knowledge and/or with reckless

disregard of its rules/regulations avoided acquiring such knowledge that: the SOQ used for

settlement of VIX Futures and VIX Options was susceptible to being manipulated and was, in

fact, being manipulated; the manipulation of the SOQ was manipulating the value of VIX

Futures and VIX Options that CBOE allowed to be traded; this manipulation of the SOQ and

VIX Futures and VIX Options constituted abusive trade practices; and nonetheless CBOE did

not stop offering those products for trading, nor did it investigate, enforce, or apply appropriate

sanctions against individuals or entities engaged in this manipulation and abusive trade practices.

       150.    As detailed in the Complaint above, CBOE failed to enforce these rules in bad

faith. Specifically, CBOE knew that suspending trading in VIX Futures and VIX Options that

were susceptible to manipulation would negatively impact the transaction fees and revenues

CBOE realized and enjoyed during the Class Period, and would also negatively impact the value

of CBOE’s stock (including shares held by and paid to CBOE officers and directors as part of

their compensation).    CBOE (including its officers and directors) therefore had a financial

incentive to allow the manipulation described above to continue.

       151.    CBOE’s conduct caused injury to Plaintiff and other members of the Class who

transacted via CBOE’s markets in VIX Futures and VIX Options that CBOE knew (or was

recklessly indifferent to knowing) were being traded in an artificial and manipulated market, at

manipulated prices, and with artificial price trends, during the Class Period.




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       152.    The damages to Plaintiff and other members of the Class were caused by CBOE’s

failure to enforce bylaws, rules, regulations, or resolutions that it was required to enforce under

the Commodity Exchange Act.

       153.    Plaintiff and other members of the Class are each entitled to damages for the

violations of the CEA alleged herein.

                                    PRAYER FOR RELIEF

       Plaintiff requests relief as follows:

       A.      That the Court determine that this action may be maintained as a class action

under Rule 23(a), (b)(1), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure, and direct

that notice of this action, as provided by Rule 23(c)(2) of the Federal Rules of Civil Procedure,

be given to Class members;

       B.      That the Court enter an order declaring that Defendants’ actions, as set forth

in this Complaint, violate the law;

       C.      That the Court award Plaintiff and Class members damages, treble damages,

punitive damages, and/or restitution in an amount to be determined at trial;

       D.      That the Court issue appropriate injunctive and other equitable relief against

Defendants;

       E.      That the Court award Plaintiff pre- and post-judgment interest;

       F.      That the Court award Plaintiff his costs of suit, including reasonable attorneys’

fees and expenses; and

       G.      That the Court award any and all such other relief as the Court may deem just

and proper.




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Dated: March 20, 2018




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